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 7

 8                                UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10
     KEENAN & ASSOCIATES,                            Case No: #
11
                         Plaintiff,
12                                                   COMPLAINT FOR DAMAGES AND
             v.                                      INJUNCTIVE RELIEF:
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     ABD INSURANCE AND FINANCIAL                        1. Misappropriation of Trade Secrets in
14   SERVICES, INC. dba NEWFRONT, a                        Violation of the Defend Trade Secrets Act,
     Delaware Corp.; and KEITH BROWN, an                   18 U.S.C. § 1836, et seq.;
15   individual,                                        2. Breach of Contract;
                                                        3. Breach of Fiduciary Duty;
16                       Defendants.                    4. Tortious Interference with Contract
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                                                     DEMAND FOR JURY TRIAL
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 1           Plaintiff Keenan & Associates (“Plaintiff” or “Keenan”), by and through its undersigned

 2   counsel, hereby brings this Complaint for damages and injunctive relief against Defendants ABD

 3   Insurance and Financial Services, Inc. dba Newfront (“Newfront”) and Plaintiff’s former employee

 4   Keith Brown (“Brown” or “Defendant”), for violations of the federal Defendant Trade Secrets Act, 18

 5   U.S.C. § 1836 et seq., Brown’s breach of his Employment Agreement with Plaintiff (the “Agreement,”

 6   attached hereto as Exhibit A), Brown’s breaches of his fiduciary duties to Plaintiff, and for Newfront’s

 7   tortious interference with his Agreement. In support thereof, Keenan avers as follows:

 8                                            INTRODUCTION

 9           1.      Keenan is a commercial and benefits insurance brokerage that just discovered that its

10   former long-term employee, Brown, took a swath of trade secret and confidential files in anticipation of

11   his departure to join Newfront. Brown downloaded, saved, and/or copied numerous Keenan documents

12   onto an external USB device before he quit and after he accepted a job offer with Newfront, a direct

13   competitor of Keenan. The documents Brown stole and retains in his possession to this day are more

14   valuable today than they were six months ago when he resigned, and they will be most valuable to Brown

15   in his competitive role over the coming weeks as clients he serviced at Keenan are up for renewal of

16   their insurance business. The non-publicly available information he stole would give him and Newfront

17   an advantage in soliciting these clients’ business. Indeed, Brown has already solicited multiple clients

18   and successfully diverted one client to his new employer since his resignation from Keenan, an effort

19   that could not have been accomplished without the use of trade secrets and confidential information

20   about these clients.

21           2.      Prior to discovering Brown’s theft of company files through computer forensics shortly

22   before the filing of this Complaint, Keenan sought assurances from Brown that he would abide by his

23   confidentiality agreement. Responding on his behalf, Newfront proclaimed that Brown has not done

24   anything to violate his agreement. As it turns out, that was just as much of a lie as was Brown’s

25   representation that he had returned all Keenan documents at the time of his departure. The truth about

26   Brown’s pre-resignation conduct came to light after computer forensics experts recently imaged Brown’s

27   Keenan laptop, revealing the systematic downloading of Keenan trade secrets in preparation for Brown’s

28   new endeavors at Newfront. As a result, having just discovered that Brown is in possession of Keenan
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 1   trade secrets pertaining to clients he serviced at Keenan that are up for renewal over the coming weeks

 2   (with pre-renewal discussions and planning underway), and in light of Brown’s successful efforts to

 3   divert one client to Newfront while in possession of Keenan trade secrets and his (and Newfront’s) lies

 4   that sought to put Keenan off the scent, Keenan now faces imminent irreparable harm that only

 5   immediate injunctive relief can prevent.

 6           3.      April and May are the months during which certain Keenan clients are most vulnerable

 7   to poaching, and this is certainly true for the public sector employee benefits programs which Brown

 8   serviced. With Brown poised to consummate the transfer of business to his new employer—aided

 9   immeasurably by the misappropriation of Keenan trade secrets that forensic analysis already proves—

10   Keenan stands at the precipice of significant irreparable harm absent immediate and emergency relief:

11   (a) Brown must turn over all devices, all files, all documents, all emails, anything and everything that he

12   stole from Keenan; (b) Brown must respond to expedited discovery to ensure those USB devices do not

13   show plug-in activity to his new employer’s devices and to allow discovery of the extent of his

14   misappropriation and other contract breaches; and (c) other relief as set forth in the accompanying

15   motion for temporary restraining order. Even after the exigency of this time is over, Keenan must have

16   opportunity to prove its damages case and subject Brown to permanent injunctive relief.

17                                         JURISDICTION & VENUE

18           4.      This Court has jurisdiction over this action under 28 U.S.C. § 1331 because this action

19   arises under the federal Defend Trade Secrets Act (“DTSA”). This Court has supplemental jurisdiction

20   over Keenan’s supplemental state law causes of action under 28 U.S.C. § 1367.

21           5.      Venue is proper in the Eastern District of California pursuant to 28 U.S.C. § 1391(b)(1)

22   because Brown resides in Elk Grove, California, which is in this judicial district, and Newfront has an

23   office in Sacramento, California, which is also in this judicial district.

24                                                    PARTIES

25           6.      Keenan is a California corporation with its principal place of business in Torrance,

26   California. Keenan is 100% owned by AssuredPartners Capital, Inc., a Delaware corporation with its

27   principal place of business in Lake Mary, Florida.

28           7.      Defendant ABD Insurance and Financial Services, Inc. (“ABD Inc.”) is a Delaware
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 1   corporation maintaining its principal place of business in San Mateo, California. Plaintiff is informed

 2   and believes, and based thereon alleges, that ABD Inc. is the surviving company of a January 1, 2022

 3   merger of three insurance agencies, one of which was Newfront Insurance Services, LLC. Plaintiff is

 4   further informed and believes, and based thereon alleges, that ABD Inc. continues to use the name

 5   “Newfront” in its branding and operates as an insurance brokerage.

 6           8.      Defendant Keith Brown is an individual who, upon information and belief, is a resident

 7   of Elk Grove, California.

 8           9.      Personal jurisdiction is proper in this Court because Defendant is a resident of California

 9   and because he has engaged in unlawful conduct in California, which has caused harm to Keenan.

10                       GENERAL ALLEGATIONS COMMON TO ALL COUNTS

11   A.      Background and Business of Keenan

12           10.     Keenan is among a family of insurance brokerages owned by AssuredPartners Capital,

13   Inc. and its related companies (collectively, the “Assured Group”). The Assured Group is a national

14   brokerage firm founded in 2011 as a partnership of leading independent property, casualty, and employee

15   benefits brokerages. The Assured Group has over 180 physical locations across North America and

16   provides insurance services to individuals and businesses in numerous industries, such as aerospace,

17   agriculture, senior living, financial services, manufacturing, and real estate, among many others.

18           11.     Since 2011, the Assured Group has invested heavily in high growth strategies through its

19   successful model of partnering regional insurance brokerages with the resources of a nation-wide family

20   of brokerages, enabling cross-marketing revenue generation and expanding market share through the

21   combined experience and know-how for marketing and business development through hiring, retention,

22   and training of insurance producers who drive revenue. Doing so has enabled the Assured Group family

23   of local and regional insurance brokerages to continue to capture market share across numerous lines of

24   insurance products and services throughout the nation.

25           12.     One such member of the Assured Group is Keenan. Keenan was founded in 1972 and, by

26   2017, grew to be the largest independent private agency domiciled in California. It is a California-centric

27   insurance brokerage, third party administrator and service company providing a comprehensive suite of

28   property-casualty and employee benefits products and services, primarily in industries of public agencies
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 1   (schools K-12 and community colleges and municipalities/counties) and Healthcare. In 2017,

 2   AssuredPartners, Inc. acquired Keenan. Keenan continues to operate throughout the State of California.

 3              13.   As an insurance brokerage, Keenan relies upon and invests heavily in the success of its

 4   individual insurance producers. These producers leverage their experience, expertise, and the Assured

 5   Group’s national resources to generate new business, whether through relationships with new clients or

 6   through sales of new lines to existing clients. Repeat business through insurance renewals from existing

 7   clients is of paramount importance to the success and growth of Keenan. Keenan invests in its producers

 8   to ensure they continue to nurture and develop the Keenan book of business assigned to and/or generated

 9   by an individual producer.

10   B.    Keenan’s Trade Secrets

11              14.   Equally critical to Keenan’s success, however, is its investment into the development and

12   safeguarding of the confidential and trade secret information central to the business platform. Through

13   careful and consistent enforcement of lawful confidentiality policies and contractual obligations and

14   implementing other physical and electronic security measures, Keenan protects its prized assets – the

15   trade secret and confidential information acquired and developed through continued investment.

16              15.   Keenan devotes substantial resources to the protection of information critical to the

17   success of the business where the value of such information depends on it being maintained as

18   confidential and used only for the benefit of Keenan. As alleged herein, Keenan treats such information

19   as its trade secrets (hereinafter referred to as “Trade Secrets” or “Keenan Trade Secrets”), which is

20   non-public information concerning the operations, business methods, personnel, costs and finances,

21   marketing plans, research, sales, pricing data and legal affairs of Keenan and its clients. Keenan Trade

22   Secrets include, but are not limited to:

23                    a.     The identities, goals, needs, strategic plans and account information of Keenan

24   clients;

25                    b.     The identities, goals, needs, and preferences of individual decision makers

26   employed by Keenan clients;

27                    c.     The amount of premiums and commissions paid and/or generated by the sale of

28   particular Keenan products or services and/or by the sale of Keenan products or services to a particular
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 1   Keenan client;

 2                    d.     Insurance and/or contract renewal timetables for any Keenan client;

 3                    e.     The terms (including, without limitation, pricing and billing information) of any

 4   contract between Keenan and any Keenan client; and

 5                    f.     Keenan’s data files (including, without limitation), AMS Sagitta, GenSource

 6   products, SBPA GBAS, Keenan Intranet Data Warehouse), working papers, reports, procedure manuals

 7   and modules.

 8           16.      Keenan developed, compiled, and acquired its Trade Secrets at great expense and through

 9   substantial efforts. Keenan’s Trade Secrets are not readily ascertainable in the insurance industry or in

10   any type of trade or public directory or any other source.

11           17.      The misuse of Keenan’s Trade Secrets, whether through the improper disclosure or

12   improper use for a non-Keenan business purpose, would cause significant damage to Keenan through

13   potential loss of business and business opportunity, loss of goodwill, loss of employees through unfair

14   and unlawful means, damage to reputation, and other types of harm.

15           18.      As such, Keenan takes careful, deliberate actions at great expense to protect against the

16   misuse or wrongful disclosure of Keenan Trade Secrets. Keenan has taken steps reasonable under the

17   circumstances to maintain the secrecy of its Trade Secrets, such as: (a) emphasizing to employees

18   Keenan’s need to keep this information a secret; (b) requiring, as a condition of employment that all

19   employees promise not to use or disclose this information except in the performance of their duties for

20   Keenan; (c) having employees execute confidentiality and non-disclosure agreements that instruct

21   Keenan’s employees not to disclose, reproduce or use this information without Keenan’s consent; (d)

22   distributing confidentiality policies that all employees must specifically acknowledge, as well as

23   employee handbooks containing confidentiality requirements; (e) limiting access and/or restricting

24   access to this information by employees on a need-to-know basis; (f) requiring unique usernames and

25   passwords to access Trade Secrets on Keenan’s computer systems and databases; and (g) implementing

26   a number of physical and electronic security measures, including restricting access to databases and

27   network space, assigning passwords and user-level permissions to access information on Keenan’s

28   computer system, servers, and networks, encrypting Keenan laptops issued to employees, and requiring
                                                          6
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 1   that Trade Secrets be kept in secure locations when not in use.

 2           19.     For example, the employee handbook used by Keenan in 2021 obligates all Keenan

 3   employees to specifically acknowledge, and be bound by, provisions identifying in detail the nature of

 4   Keenan Trade Secrets and obligating employees to protect such information. The 2021 California

 5   Employee AP Handbook used by Keenan states in pertinent part:

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     A copy of the pertinent pages of this Handbook is attached hereto as Exhibit B.
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             20.     Further, as part of Keenan’s efforts to protect its Trade Secrets, Keenan does not allow
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     insurance producers access to Keenan Trade Secrets until after the producers execute a written
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     confidentiality agreement whereby producers acknowledge they will have access to Keenan Trade
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     Secrets, promise not to disclose Keenan Trade Secrets to anyone not authorized to receive it, and to
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     confirm they will not use Keenan Trade Secrets except for legitimate business purposes for the benefit
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     of Keenan. Producers also agree that confidentiality obligations survive the termination of their
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     employment relationship with Keenan, that they will continue to treat Keenan’s Trade Secrets as
21
     confidential, that they will not disclose Keenan’s Trade Secrets to any third party, and that they will not
22
     retain Keenan Trade Secrets. Finally, producers acknowledge that the Keenan Trade Secrets are the sole
23
     and exclusive property of Keenan. Exhibit A, Paragraph 4.a, 4.b, and 9.b.
24
             21.     Keenan also guards the confidentiality of its Trade Secrets by enforcing its contracts
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     protecting its Trade Secrets. Keenan does not tolerate violations of confidentiality provisions and takes
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     steps to enforce its rights, from cease and desist letters to litigation seeking emergency or preliminary
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     and permanent injunctive relief, when, for example, producers violate their employment and post-
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 1   employment confidentiality obligations. Keenan has routinely enforced the terms of its employment

 2   agreements in recent years to protect against the use and disclosure of its Trade Secrets.

 3           22.     Because of the nature of the Trade Secrets, Keenan’s commitment to enforce its

 4   confidentiality agreements, the fact that the Trade Secrets derive value by virtue of being confidential,

 5   and the fact that the Trade Secrets cannot be obtained from public sources by competitors, Keenan’s

 6   Trade Secrets are trade secrets under federal law.

 7           23.     In the course and scope of his duties for Keenan, Brown had access to, regularly used,

 8   and was responsible for maintaining and safeguarding Keenan Trade Secrets from use and disclosure for

 9   a competitive purpose.

10   C.      Keenan Confidential Information

11           24.     Further, to the extent Keenan Trade Secrets are not considered trade secrets under

12   applicable law, such information is protected as confidential information under the Agreement

13   (hereinafter referred to as “Confidential Information” or “Keenan Confidential Information”).

14           25.     Keenan Confidential Information encompasses all information belonging to Keenan other

15   than Trade Secrets (as defined above) that is proprietary and confidential in nature, whether the

16   information is reduced to writing or in a form from which such information can be obtained, translated

17   or derived into reasonably usable form, and whether the information is simply in an employee’s head,

18   that: (a) has been provided to the employee during his/her employment with Keenan; (b) the employee

19   has gained access to while employed by Keenan; and/or (c) was developed by the employee in the course

20   of his/her employment with Keenan.

21           26.     Examples of Keenan Confidential Information include, but are not limited to:

22                   a.     information believed by Keenan to be a trade secret (as defined above) that

23   ultimately does not qualify as a trade secret under applicable law but nonetheless was maintained by

24   Keenan as confidential;

25                   b.     the non-trade secret but still proprietary or confidential methodologies, strategies,

26   programs, and systems used by Keenan in managing assets, liabilities, and risk and/or in soliciting,

27   marketing, selling and providing services to its clients;

28                   c.     private and confidential communications with Keenan’s clients, vendors,
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 1   insurance carriers, and consultants;

 2                     d.     non-trade secret but still confidential or private information of third parties that

 3   Keenan has contractual and/or legal obligations to maintain as confidential, including all client

 4   information that Keenan and its employees are restricted from disclosing by federal, state or local statutes

 5   or regulations;

 6                     e.     non-trade secret but still proprietary or confidential financial and accounting

 7   information of Keenan;

 8                     f.     non-trade secret but still proprietary or confidential information concerning

 9   Keenan’s current and prospective clients and vendors (including, but not limited to, information that

10   clients and vendors expect Keenan to keep as confidential);

11                     g.     non-trade secret but still proprietary or confidential information concerning

12   Keenan’s consultants, independent contractors, and vendors (including lists of all the foregoing); and

13                     h.     personnel files and employment-related records of Keenan’s current and former

14   employees (including, but not limited to, information related to the hiring, recruitment, retention, and

15   termination of its current and former employees, as well as information related to their job duties,

16   assignments, skills, training, performance, discipline, promotions, compensation, benefits, leaves of

17   absence, and medical files).

18           27.       As with its Trade Secrets, Keenan takes the same reasonable measures to protect against

19   the misuse and wrongful disclosure of Keenan Confidential Information. These measures include, but

20   are not limited to: (a) emphasizing to employees Keenan’s need to keep this information a secretKeenan;

21   (b) requiring, as a condition of employment that all employees promise not to use or disclose this

22   information except in the performance of their duties for Keenan; (c) having employees execute

23   confidentiality and non-disclosure agreements that instruct Keenan’s employees not to disclose,

24   reproduce or use this information without Keenan’s consent; (d) distributing confidentiality policies that

25   all employees must specifically acknowledge, as well as employee handbooks containing confidentiality

26   requirements; (e) limiting access and/or restricting access to this information by employees on a need-

27   to-know basis; (f) requiring unique usernames and passwords to access Trade Secrets on Keenan’s

28   computer systems and databases; and (g) implementing a number of physical and electronic security
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 1   measures, including restricting access to databases and network space, assigning passwords and user-

 2   level permissions to access information on Keenan’s computer system, servers, and networks, encrypting

 3   Keenan laptops issued to employees, and requiring that Trade Secrets be kept in secure locations when

 4   not in use.

 5           28.     In the course and scope of his duties for Keenan, Brown had access to, regularly used,

 6   and was responsible for maintaining and safeguarding Keenan’s Confidential Information from use and

 7   disclosure for a competitive purpose.

 8   D.      Brown and the Agreement

 9           29.     Brown joined Keenan on August 20, 2003.

10           30.     As a condition of starting employment with Keenan, Brown agreed to the terms of the

11   Agreement.

12           31.     The Agreement defines “Confidential Information” and restricts its retention, use, or

13   disclosure as follows:

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 1   Exhibit A, Paragraph 4.a.

 2           32.     The Agreement also prohibits Brown from using or disclosing Keenan Confidential

 3   Information except as required during the course and scope of his employment with Keenan:

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11   Exhibit A, Paragraph 4.b.

12           33.     Brown also acknowledged and agreed that all electronic files and records relating to

13   Keenan’s business are exclusively the property of Keenan and shall be returned to Keenan at the

14   conclusion of his employment with Keenan:

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21   Exhibit A, Paragraph 9.b.

22           34.     Brown committed in the Agreement that Keenan would be entitled to injunctive relief in

23   the event that he violated any of its terms:

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     Exhibit A, Paragraph 12.
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             35.       In Paragraph 14 of the Agreement, Brown agreed that the contract would be governed by
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     California law.
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             36.       Finally, in Paragraph 18 of the Agreement, Brown agreed that in the event that he
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     breached the contract, then Keenan would be entitled to recover its costs and expenses, including
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     reasonable attorneys’ fees:
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     Exhibit A, Paragraph 18.
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     E.      Brown’s Duties at Keenan.
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             37.       After executing the Agreement on or about August 20, 2003, Brown started working for
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     Keenan.
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             38.       Brown worked as an Account Manager for the first 15 years of his employment with
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     Keenan until he was promoted to Vice President, a role he remained in until he resigned. For the entirety
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     of his employment, Brown specialized in the provision of insurance products and services to public
26
     sector clients in need of employee benefits consulting. Brown’s particular specialty involved providing
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     employee benefits consulting to “Joint Powers Authorities” or “JPAs” formed by public school districts
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 1   and to the individual school districts within those JPAs.

 2           39.     A JPA is a legally created entity distinct from its constituent members that allows two or

 3   more public agencies to jointly exercise common powers. As relevant here, JPAs offer insurance-pooling

 4   and volume-based purchasing options for school districts that want to purchase insurance or related

 5   insurance services, and often to purchase lower-cost medical and dental benefits for teachers and district

 6   employees.

 7           40.     The process by which Keenan, and other competitors in the field, become a “broker of

 8   record” for a JPA is largely distinct from the way in which brokerages compete for commercial insurance

 9   lines. JPAs award contracts to brokers through a public bidding process in response to a Request for

10   Proposal (RFP). Whereas commercial insurance products are typically driven by annual renewals, JPAs

11   issue RFPs sometimes annually, but it may be every two years, or much longer. And once in contract, a

12   broker such as Keenan would be the contractual broker to that JPA until the term of the contract is

13   concluded. In contrast, insureds in the commercial setting may transfer their business at any time from

14   one broker to the next through a “broker of record” appointment letter, or “BOR letter.”

15           41.     A broker-of-record (“BOR”) letter is an appointment letter used in the insurance industry

16   to inform insurance carriers of an applicant’s or insured’s designation of an insurance broker to act on

17   its behalf. It is typically used to signal the appointment of a broker for the first time or to replace an

18   existing broker of record with a new one. When an insurance brokerage receives a broker-of-record letter

19   reflecting the new appointment of a different insurance broker on behalf of an existing client, it informs

20   the brokerage of the transfer/loss of business.

21           42.     The JPA, however, is just the tip of the iceberg. Its member school districts often

22   separately purchase ancillary lines of insurance and will appoint a broker of record who may or may not

23   be the broker of record for the JPA. Keenan thus markets is employee benefits services to JPAs and their

24   constituent members.

25           43.     For example, in 2021, Brown oversaw a book of business of roughly $1.8 million in

26   revenue that included 2 JPAs and approximately 58 individual school districts.

27           44.     Brown himself brokered, produced, and serviced JPAs and school districts on Keenan’s

28   behalf for over twenty years. In so doing, Brown’s duties for Keenan are typical of any insurance
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 1   producer, including: (a) the use of sales techniques to identify prospects; (b) engaging in frequent

 2   communications with Keenan clients to build relationships and address those clients’ insurance needs;

 3   (c) working with account executives to develop renewal and marketing strategies; (d) developing

 4   relationships with carriers by becoming familiar with and executing strategies developed for satisfying

 5   carrier goals and objectives, and participating in carrier sponsored activities; and (e) working with other

 6   employee benefits specialists in the Assured Group to develop the Assured Group’s overall strategy for

 7   taking care of clients in this line of business.

 8            45.    The employee benefits clients that Brown specializes in servicing require constant

 9   attention and service from their insurance providers because the nature of the business is such that the

10   clients face numerous potential sources of liability and therefore have unique needs unlike those of most

11   other businesses. As a result, Brown and his team had substantial client contact on behalf of Keenan and

12   gained a substantial amount of confidential information about their clients’ businesses and insurance

13   needs.

14            46.    The clients that they serviced are located throughout Northern California, though Brown

15   lived in Elk Grove, California.

16            47.    In consideration for the services he provided, Keenan paid Brown a salary plus

17   commissions.

18   F.       Brown’s Resignation from Keenan and Joining with Newfront.

19            48.    In early 2021, Keenan was planning a restructuring that included a promotion for Brown.

20   Based upon information and belief, despite informing Brown that he would receive a promotion, it is

21   this restructuring that led Brown to grow discontent with his employment at Keenan.

22            49.    By no later than the spring of 2021, Brown was interviewing—according to what he later

23   told Keenan—with “many firms.”

24            50.    No later than June 2021, Brown was interviewing with Newfront to join Newfront’s team

25   and directly compete with Keenan. On June 14, 2021, Brown met with several Newfront executives,

26   including its CEO Spike Lipkin.

27            51.    Unbeknownst to Keenan, and as further alleged below, Brown spent those summer

28   months, not only planning to leave Keenan, but downloading and preparing to take with him Keenan
                                                         14
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 1   Trade Secrets and Confidential Information with the intent of misappropriating that information for the

 2   benefit of his future employer.

 3           52.     Also unbeknownst to Keenan, on or about July 28, 2021, Brown received his formal job

 4   offer from Newfront, and on or about August 16, 2021, Brown entered into an Employment Agreement

 5   for Producer Services with Newfront (“Brown’s Newfront Employment Agreement”). Brown’s

 6   Newfront Employment Agreement identified his start date as October 5, 2021 and that he would hold

 7   the position of Principal & Employee Benefits Strategist.

 8           53.     Keenan first became aware that Brown had been looking for new employment on the

 9   evening of August 31, 2021, when Brown telephoned his supervisor, Kelly Hall (“Hall”), to verbally

10   provide his two-week notice of resignation. Brown explained to Hall that he was going to be joining

11   Newfront where he intended to “do something different,” that he “no longer wanted to work with

12   schools,” and that he instead wanted to help insureds local to his area, rather than the districts in other

13   counties. He also told Hall that he had “interviewed with lots of firms” but in the end decided to join

14   Newfront—a brokerage that at the time lacked a public sector business—because “he didn’t want to sit

15   across the table from Keenan and compete.”

16           54.     Although Newfront was and is a Keenan competitor, Brown expressly assured Keenan

17   that he would be working in the commercial sector and would not compete with Keenan’s business in

18   the public sector. This representation was false, intended to lull Keenan into a sense of security that

19   Brown did not intend to solicit the Keenan accounts Brown serviced.

20           55.     On September 3, 2021, Brown submitted his 2-week notice of resignation by email.

21           56.     Keenan requested, and Brown agreed, to extend his resignation notice until September

22   30, 2021. Keenan asked Brown to stay longer, having been put at ease by Brown’s assurance he was

23   leaving the public entity sector and would not compete with Keenan. Brown said he would “check with

24   Newfront but it shouldn’t be a problem.” Brown then agreed to extend his notice period until the end of

25   September.

26           57.     On September 29, 2021, Keenan conducted an exit interview with Brown, provided him

27   a copy of the Agreement, and reminded him of his obligation to return all Keenan Trade Secrets and

28   Confidential Information in his possession.
                                                         15
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 1           58.     Brown’s last day with Keenan was September 30, 2021. He returned his Keenan-issued

 2   computer and represented to Keenan that he had no other Keenan files or Keenan Trade Secrets

 3   Confidential Information. He did not, however, identify or return any external storage devices or other

 4   Keenan property. He did turn in his Keenan printer on October 4, 2021 that he stated he forgot to bring

 5   back on his last day.

 6           59.     On Brown’s last day, Keenan provided Brown a letter dated September 30, 2021

 7   reminding him, inter alia, of his obligations to return all Keenan files and Keenan Confidential

 8   Information:

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             60.     On October 6, 2021, Newfront issued the following press release (“October 6 Press
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     Release”), announcing the hiring of Brown to service “his Employee Benefits clients” on Newfront’s
14
     behalf and him joining Newfront’s “Rapidly Growing Employee Benefits Practice”:
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 1

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     https://www.prnewswire.com/news-releases/keith-brown-joins-newfront-insurances-rapidly-growing-
 6
     employee-benefits-practice-301394588.html.
 7
             61.     As Brown’s Newfront Employment Agreement reflects, Newfront incentivized Brown to
 8
     move business to Newfront because Brown’s compensation included a “new business commission split,”
 9
     and a “renewal split,” with specified performance targets during the first year. In fact, Brown’s Newfront
10
     Employment Agreement makes explicit that Newfront’s “expectations … are to help ensure that your
11
     book is transitioning to Newfront at the desired pace[.]” Of course, Brown was not the “owner” of any
12
     book of business; any accounts for which he provided services or generated on behalf of Keenan were
13
     Keenan’s clients, not Brown’s.
14
             62.     The October 6 Press Release displayed above makes it plainly clear – Newfront intended
15
     to “rapidly grow” an employee benefits practice, with a strategy encouraging new hires such as Brown
16
     to solicit Keenan clients to transfer to Newfront, i.e., as the Press Release states—to join Newfront and
17
     “help deliver a world class service for his employee Benefits clients.”
18
     G.      Soon After Brown Leaves, Keenan Discovers that Brown Was, In Fact, Competing for
19
             Keenan Business And Was Doing So Through the Misuse of Keenan Trade Secrets and
20
             Keenan Confidential Information.
21
             63.     In the weeks following Brown’s departure, Keenan learned that, contrary to Brown’s
22
     representations, Brown was in fact competing with Keenan—even before he left Keenan—and that he
23
     was doing so through the misuse of Keenan Trade Secrets and Keenan Confidential Information.
24
             64.     In particular, Keenan learned that Brown was soliciting one of the two Keenan JPAs,
25
     MCSIG, for Newfront’s benefit even before he left Keenan and asking MCSIG’s Executive Director to
26
     re-message his exit so as not to suggest that he was leaving the sector. Instead, Brown asked the Keenan
27
     client’s Executive Director to say something different: “If possible, instead of mentioning I am going to
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                                                        17
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 1   chase commercial groups, or leaving schools…I would say I am joining a consulting firm that is focused

 2   on bringing new technologies to employee benefits and consulting.”

 3           65.     In this same email chain with MCSIG’s Executive Director on September 24, 2021,

 4   Brown solicits MCSIG by telling her that he would be “coming back … as your enrollment and eligibility

 5   solution in 2022.” Brown obviously was messaging to this Keenan client – while he was still acting on

 6   behalf of Keenan – to plan on transferring its business to Brown’s new employer once he made his move:

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25           66.     Keenan also learned that, after resigning, on October 15, 2021, Brown used his

26   knowledge of Keenan Trade Secrets and Keenan Confidential Information to attempt to set up a meeting

27   with another Keenan client—Oak Grove School District—to solicit its business with insight gained

28   exclusively from the Keenan Trade Secrets and Keenan Confidential Information he acquired while
                                                      18
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 1   employed at Keenan. On October 15, 2021, Brown sent the following email to this client from his

 2   personal email account even though he was already employed by Newfront at the time in an effort to

 3   conceal his solicitation of the client:

 4

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             67.     Keenan also learned that, on October 28, 2021, Brown used his knowledge of Keenan
10
     Trade Secrets and Keenan Confidential Information to directly solicit another Keenan client—Fremont
11
     Unified School District. In his email to this Fremont Unified School District client on October 28, 2021,
12
     Brown seemingly picked up where he left off from discussions that he had with this Keenan client before
13
     he left Keenan. For example, Brown proposed solutions to concerns expressed amongst employee groups
14
     that, upon information and belief, were concerns expressed to him while he was an employee of Keenan
15
     and that, at minimum, constitute Keenan Confidential Information. The remainder of this email is not
16
     included below because it contains Confidential Information that Brown acquired through his
17
     employment with Keenan about this client’s particular needs, concerns, and issues, which was not
18
     publicly available information or readily ascertainable through proper means.
19

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24           68.     Keenan also learned that Brown had been contacting individuals whose information he
25   acquired as a result of Keenan’s funding during his employment of his membership in a professional
26   organization, CASBO, intended for Keenan’s benefit. Brown had been telephoning or otherwise
27   contacting these individuals using information he acquired while employed at Keenan, but he was doing
28   so for the benefit of Newfront.
                                                        19
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 1           69.     Keenan’s discoveries of Brown’s lies and unlawful solicitations prompted a series of

 2   letters between counsel for Keenan and counsel for Brown. Despite the obvious nature of his

 3   solicitations, Brown took the position that he was actually not soliciting Keenan clients and denied

 4   misappropriating Keenan’s Trade Secrets or Confidential Information.

 5           70.     On October 29, 2021, Keenan sent a cease-and-desist letter (“October 29th Cease &

 6   Desist Letter”) to Brown, enclosing a copy of his Agreement, and reminding him of his obligations set

 7   forth in the Agreement including the requiring that he never at any time use Keenan’s Confidential

 8   Information except as allowed in his Agreement. Keenan demanded that Brown cease any further

 9   violations of his Agreement. Keenan also demanded that Brown preserve any Keenan information and

10   files that he possessed—although Keenan had been told by Brown that the only files or property of

11   Keenan he possessed was on the Brown Laptop that he returned at the conclusion of his employment.

12           71.     On November 2, 2021, Brown’s attorney responded, expressing Brown’s denial of the

13   accusations and taking the position that he was merely provided “excellent customer service” on behalf

14   of Keenan, even after he left.

15           72.     On November 17, 2021, Keenan wrote again, surprised at Brown’s position that he had

16   not been soliciting and reminded Brown of his solicitations of MCSIG, the email proof quoted above,

17   along with evidence of Brown’s solicitations of other Keenan clients. One such example highlighted in

18   Keenan’s November 17th letter noted Brown’s explicit solicitation of the Fremont Unified School

19   District by Brown’s email stating, “I would like to obtain the broker of record designation for the

20   Fremont Unified School District.”

21           73.     On November 22, 2021, Brown’s attorney responded further, once again denying any

22   wrongful conduct.

23   H.      Keenan Undertakes a Forensic Investigation That Is Ongoing But Has Already Discovered

24           that Brown Downloaded Keenan Trade Secrets and Keenan Confidential Information

25           74.     On or about February 14, 2022, Keenan received a Broker of Record Letter from Oak

26   Grove School District appointing Newfront as its broker-of-record for its benefits insurance effective

27   April 1, 2022. Oak Grove School District is a member of the JPA known as SMCSIG, which was among

28   the Keenan clients assigned to Brown during his employment at Keenan.
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 1           75.     The receipt of the Oak Grove School District BOR letter prompted a larger concern, to

 2   wit, given that Brown had already been misusing Keenan Trade Secrets and Keenan Confidential

 3   Information to solicit Keenan clients in the past, and that Keenan’s bid for SMCSIG that was due

 4   February 28, 2022 may have likewise been compromised and put at a competitive disadvantage if

 5   Defendants also submitted a bid. The SMCSIG bid request, called Request for Quotes for Employee

 6   Health Benefits, was issued the week of January 10, 2022, with bidders submitting sealed proposals by

 7   February 28, 2022. The contract is scheduled to be awarded on April 29, 2022. Keenan is informed and

 8   believes that, if Defendants submitted a bid to SMCSIG, they did so with the use of SMCSIG-related

 9   files taken by Brown as set forth below and/or other Confidential Information that Brown acquired solely

10   through his employment with Keenan.

11           76.     Based upon these concerns, Keenan engaged a computer forensics consultant to analyze

12   the Keenan-owned laptop Brown was assigned at Keenan that he returned upon his resignation. Starting

13   on March 17, 2022, and continuing through the filing of this Complaint, Keenan began to receive initial

14   findings and reports from the forensics consultant. While the forensic analysis is continuing, the results

15   already show brazen actions on the part of Brown, as set forth below.

16                   a.     On June 9, 2021, within days of a meeting between Brown and Newfront, Brown

17   inserted, for the first time, a Seagate USB External Hard Drive, S/N: NA7HKZP9 (“Seagate KZP9

18   Device”). The Seagate KZP9 Device continued to be frequently used each month up through Brown’s

19   departure of September 30, 2021.

20                   b.     On June 11, 2021, a day after receiving confirmation of his June 14 meeting with

21   Newfront’s CEO and other Newfront executives, Brown saved to the Seagate KZP9 Device several

22   folders named “SMCSIG Marketing”, “SMCSG Open for Business”, and “Sequioa Mktg”.

23                        i. The first folder Brown copied to the Seagate KZP9 Device had the pathway,

24                          “D:\My Passport(G#)\061121 KEENAN\SMCSIG Marketing”. Brown accessed

25                          this folder from the Seagate KZP9 Device on June 11, 2021, which means this

26                          folder and its contents are on the Seagate KZP9 Device. Keenan has been unable

27                          to locate this folder in its systems or on the Keenan laptop returned by Brown.

28                          Based on the folder path and Keenan’s knowledge of Brown’s work activities at
                                                        21
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 1                           Keenan, this folder would contain Trade Secrets and Confidential Information

 2                           pertaining to the SMCSIG JPA. Brown had marketed to multiple insurance

 3                           carriers and would have current rates and plans for each of the participating

 4                           districts in this JPA and all of the rate information that the quoting carriers

 5                           provided in their proposal to Keenan, rate information that is not publicly

 6                           available to Keenan’s competitors. This folder may also contain information from

 7                           Keenan underwriting with proprietary formulas on how Keenan reviews carrier

 8                           ratings, which would not be available to a competitor.

 9                        ii. The second folder Brown copied to the Seagate KZP9 Device had the pathway,

10                           “D:\My Passport(G#)\061121 KEENAN\SMCSIG Open for Business”. Brown

11                           accessed this folder from the Seagate KZP9 Device on June 11, 2021, which

12                           means this folder and its contents are on the Seagate KZP9 Device. Keenan has

13                           been unable to locate this folder in its systems or on the Keenan laptop returned

14                           by Brown. Based on the folder path and knowledge of Brown’s work activities at

15                           Keenan, this folder would contain Trade Secrets and Confidential Information on

16                           insurance plan comparisons and understandings of what happened with this client

17                           last year, all of which would provide Defendants with an advantage in negotiating

18                           tweaks for this year to help sell business into the JPA. The term “Open for

19                           Business” that appears in the folder path is a term Brown used during his

20                           employment at Keenan with all the groups that have CalPERS as their medical

21                           program but are in the SMCSIG JPA for other lines of business to solicit their

22                           medical business to move to the SMCSIG JPA.

23                   c.      On July 28, 2021, Brown received his offer letter and employment agreement

24   from Newfront, as a DocuSign-generated file found in the “Downloads” folder on his Keenan-issued

25   computer indicates this was the date he accessed the document through DocuSign. This same file

26   indicates that Brown electronically signed the Newfront agreement on August 16, 2021.

27                   d.      On August 22, 2021, after he signed his employment agreement with Newfront,

28   Brown copied to the Seagate KZP9 Device several folders named “2018 surveys”, “Contract 1 - San
                                                        22
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 1   Mateo UHSD”, “Contract 2 - Bayshore SD”, “Contract 4 - Cabrillo USD (Classified)”, “Contract 5 - La

 2   Honda SD”, “Contract 6 - Portola SD”, “Desktop as of 041219”, “kbrown's files”, and “New folder”.

 3   These folders appear to have been copied from Keenan’s sharedrive, as Keenan has identified these

 4   folders on its sharepoint with the same folder pathway that appears in the forensic report. Several of

 5   these folders contain copies of contracts between Keenan and clients. Other folders contain copies of

 6   Brown’s desktop and working files, including Confidential Information pertaining to specific clients.

 7   Among the files in these folders are “Census” spreadsheets containing private information of employees

 8   of Keenan clients, including names, social security numbers, and dates of birth.

 9                   e.      On September 2, 2021, after Brown provided notice of his resignation to Keenan,

10   while the Seagate KZP9 Device was inserted into his Keenan-issued laptop, folders and files named

11   “Aug 21 - Dec 21 Rates for Fremont Unified Board Meeting.xlsx”, “Santa Clara USD\2022 smsig kaiser

12   rates.xlsx”, “FUSD\2022 fusd illustrative only kb updated 05142021.xlsx” and “FUSD\2021 New Plan

13   Presentation.pptx” were saved to the Seagate KZP9 Device. Of particular note are three files that Plaintiff

14   has been unable to find:

15                        i. “D:\My Passport(G#)\061121 KEENAN\FUSD\Aug 21 - Dec 21 Rates for

16                           Fremont Unified Board Meeting.xlsx”. Keenan has been unable to locate this

17                           file in its systems or on the Keenan laptop returned by Brown, but this filename

18                           indicates that it would contain Trade Secrets and Confidential Information. Based

19                           on folder path, filename, and Keenan’s knowledge of Brown’s work activities at

20                           Keenan, this file likely contains Trade Secrets and Confidential Information

21                           specific to “FUSD”, or Fremont Unified School District, which is a Keenan client.

22                           Upon information and belief, this file contains information that would help

23                           Defendants prepare to solicit FUSD out of CalPERS for medical benefits building

24                           off the rates Keenan used last year.

25                        ii. “D:\My Passport(G#)\061121 KEENAN\FUSD\2022 fusd illustrative only kb

26                           updated 05142021.xlsx”. Keenan has been unable to locate this file in its systems

27                           or on the Keenan laptop returned by Brown, but this filename indicates that it

28                           would contain Trade Secrets and Confidential Information. Based on folder path,
                                                         23
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 1                           filename, and Keenan’s knowledge of Brown’s work activities at Keenan, this file

 2                           likely contains Trade Secrets and Confidential Information specific to “FUSD”,

 3                           or Fremont Unified School District, which is a Keenan client. Upon information

 4                           and belief, this file may contain information on plan comparisons and could be

 5                           helpful for negotiating benefit plan options using the SMCSIG JPA plans and

 6                           rates, providing Brown and Newfront an advantage in competing for this client’s

 7                           medical business. May and June are the most critical months when working to

 8                           bring options to districts with CalPERS medical plans.

 9                        iii. “D:\My    Passport(G#)\061121        KEENAN\FUSD\2021            New       Plan

10                           Presentation.pptx”. Keenan has been unable to locate this file in its systems or

11                           on the Keenan laptop returned by Brown, but this filename indicates that it would

12                           contain Trade Secrets and Confidential Information. Based on filename and

13                           knowledge of Brown’s work activities at Keenan, this file likely contains

14                           information specific to “FUSD”, or Fremont Unified School District, which is a

15                           Keenan client. However, a “New Plan Presentation” is how Keenan tells its story

16                           to clients and contains proprietary information. Upon information and belief, this

17                           file contains information that Defendants can use to compete with Keenan for this

18                           business.

19                   f.      On September 15, 2021, while the Seagate KZP9 Device was inserted, folders and

20   files named “SJO007L 0611\CASBO AMC\Conference Attendee List 8.09.2019 v2.xlsx”, “SJO007L

21   0611\CASBO AMC\2019 CAJPA Keenan Events Summary v3 beal darm.xlsx”, “SJO007L

22   0611\CASBO AMC”, and “SJO007L 0611\CASBO AMC\041619 Meeting.pdf” were saved to the

23   Seagate KZP9 Device. These are business files of Keenan pertaining to industry conferences that Brown

24   was involved in at Keenan.

25           77.     Upon information and belief, Brown downloaded the above-described files and folders

26   onto an external hard-drive to improve his ability to compete for Keenan business.

27           78.     The initial forensic analysis also discovered that Brown had accessed certain proprietary

28   files and folders, from the same SeagateKZP9 Device that Keenan cannot locate anywhere, not on
                                                         24
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 1   Brown’s Keenan-issued computer, and not on Keenan’s sharedrive where Brown should have been

 2   saving his working files.

 3           79.     Keenan is informed and believes that it is at imminent risk for suffering further irreparable

 4   harm due to the Defendants’ misuse of Keenan Trade Secrets and Confidential Information in connection

 5   with submitting a bid in response to the SMCSIG-issued Request for Quotes.

 6           80.     Keenan is likewise informed and believes that it is at imminent risk for suffering

 7   additional irreparable harm due to the Defendants’ active solicitation efforts of Keenan clients with the

 8   benefit of stolen Keenan Trade Secrets and Confidential Information.

 9           81.     Upon information and belief, Keenan alleges that Brown’s plan is to move as much

10   Keenan business as possible to Newfront by misappropriating Keenan Trade Secrets and Confidential

11   Information, all in violation of the Agreement and federal and state law.

12                                                     COUNT I

13                          DEFEND TRADE SECRETS ACT (18 U.S.C. § 1831 ET SEQ.)

14                                           (Against All Defendants)

15           82.     Keenan incorporates by reference its allegations set forth in paragraphs 1 through 80 of

16   this Complaint as if fully set forth herein.

17           83.     The files retained by Brown prior to his departure from Keenan are trade secrets of

18   Keenan subject to protection under the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1831 et seq.

19           84.     The information contained in these files is valuable because it is not generally known or

20   readily accessible, through proper means, to others who can profit from its use. Keenan has spent

21   significant sums, in terms of both financial and human resources, to develop and maintain this

22   information, which would be of great value to any competitor.

23           85.     The information contained in these files and data is related to products or services used

24   in, or intended for use in, interstate commerce.

25           86.     Keenan takes and, at all times relevant hereto, has taken reasonable measures to maintain

26   the confidential and secret nature of this information. Those steps include: (a) confidentiality, handbook,

27   and IT policies; (b) restricting availability of certain confidential information to key employees; (c)

28   requiring employees to execute agreements with confidentiality provisions and restrictive covenants; (d)
                                                          25
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 1   physical security measures to protect against the disclosure of sensitive materials to third parties; and (e)

 2   IT security measures, such as password protection for all computers and segregation of certain files so

 3   that only employees with a need to access the files can do so.

 4           87.     Brown obtained the information contained in these files and data by improper means in

 5   violation of his contractual and other obligations to Keenan.

 6           88.     Brown engaged in this conduct despite acquiring this information under circumstances

 7   giving rise to a duty to maintain the information’s secrecy and limit its use, which duty Brown owed and

 8   continue to owe Keenan as former agents, employees and representatives of Keenan.

 9           89.     Brown went to the trouble of retaining Keenan’s trade secrets for the obvious reason that

10   doing so will increase his odds of convincing the clients that he serviced on behalf of Keenan to move

11   their business to Newfront. If the information were not valuable for this purpose, then Brown would not

12   have gone to the trouble of stealing it.

13           90.     Brown’s foregoing conduct constitutes an actual and threatened misappropriation and

14   misuse of Keenan’s trade secret information in violation of the DTSA.

15           91.     Upon information and belief, Newfront acquiesced in the aforementioned conduct by

16   Brown and knowingly received stolen trade secret files that Brown is using on Newfront’s behalf and

17   for Newfront’s benefit.

18           92.     As a direct and proximate result of Defendants’ actual and threatened misappropriation

19   of Keenan’s trade secrets, Keenan has suffered irreparable harm and will continue to suffer irreparable

20   harm that cannot be adequately remedied at law unless he is enjoined from engaging in any further acts

21   of misappropriation and from continued possession in any form of trade secret information belonging to

22   Keenan.

23           93.     As a direct and proximate result of the above-described acts of misappropriation, Keenan

24   has suffered and/or will suffer damages and irreparable harm, and is entitled to all damages, attorneys’

25   fees, costs and remedies permitted under the DTSA.

26           94.     Each of the acts of misappropriation, as alleged in Count II, was done maliciously by

27   Defendants, thereby entitling Keenan to exemplary damages to be proved at trial.

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                                                         26
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 1                                                     COUNT II

 2                                              BREACH OF CONTRACT

 3                                                   (Against Brown)

 4           95.       Keenan incorporates by reference its allegations set forth in paragraphs 1 through 93 of

 5   this Complaint as if fully set forth herein.

 6           96.       As a condition of the commencement of his employment with Keenan, Brown executed

 7   the Agreement.

 8           97.       The Agreement is a valid and enforceable contract that prohibits Brown from using,

 9   disclosing, or retaining any of Keenan’s Confidential Information except for the benefit of Keenan.

10           98.       In the Agreement, Brown also consented to the entry of injunctive relief in the event that

11   he breached his contractual obligations.

12           99.       Keenan has met all of its obligations to Brown under the Agreement.

13           100.      Brown has breached or plans to breach the Agreement by retaining, using, and/or

14   disclosing Keenan’s Confidential Information.

15           101.      Brown’s actions constitute a breach of his Agreement with Keenan.

16           102.      As a direct and proximate result of Brown’s actions in breach of the Agreement, Keenan

17   has sustained and/or will sustain damages and is faced with irreparable harm such that injunctive relief

18   is appropriate.

19           103.      Pursuant to the terms of the Agreement, Keenan is entitled to recover its attorneys’ fees

20   incurred in this action.

21                                                     COUNT III

22                                          BREACH OF FIDUCIARY DUTY

23                                                   (Against Brown)

24           104.      Keenan incorporates by reference its allegations set forth in paragraphs 1 through 102 of

25   this Complaint as if fully set forth herein.

26           105.      By virtue of his status as a high-level employee of Keenan, Brown operated as a fiduciary

27   with respect to Keenan’s business and owed Keenan the fiduciary duties of loyalty and care and was

28   required to keep the confidential and business secrets of Keenan inviolate.
                                                           27
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 1           106.    Brown breached his fiduciary duty to Keenan by engaging in misconduct that served his

 2   own self-interest and the interests of others rather than the interests of Keenan and has acted in a manner

 3   inconsistent with the best interests of Keenan – to wit, (i) intentionally misrepresenting to Keenan that

 4   he would not compete for Keenan business at his new job, when, in fact, he did intend to compete but

 5   misrepresented his true intentions to diver Keenan so it would not discover Brown’s pre-departure

 6   solicitations; and (ii) telling at least one Keenan client to change his “exit message” from what he had

 7   told Keenan (i.e., that he was leaving the schools) and instead to say that he was simply joining a new

 8   broker and would be coming back to service Keenan’s client with new solutions on behalf of his next

 9   employer, Newfront.

10           107.    As a direct and proximate result of Brown’s breach of his fiduciary duties, Keenan has

11   incurred damages.

12           108.    The actions of Brown as alleged above were willful and malicious and demonstrate a

13   complete indifference to or a conscious disregard for the rights of Keenan.

14                                                     COUNT IV

15                                 TORTIOUS INTERFERENCE WITH CONTRACT

16                                                  (Against Newfront)

17           109.    Keenan incorporates by reference its allegations set forth in paragraphs 1 through 107 of

18   this Complaint as if fully set forth herein.

19           110.    As a condition of the commencement of his employment with Keenan, Brown executed

20   the Agreement. See Exhibit A.

21           111.    The Agreement is a valid and enforceable contract that prohibits Brown from using,

22   disclosing, or retaining any of Keenan’s Confidential Information except for the benefit of Keenan.

23           112.    Newfront was aware of the existence of the Agreement between the Brown and Keenan.

24           113.    Upon information and belief, by encouraging and/or participating in a scheme with

25   Brown to enable his misuse of Keenan Confidential Information to solicit Keenan clients with the benefit

26   of Keenan Confidential Information, Newfront intentionally interfered with the Agreement between

27   Brown and Keenan. Specifically, Newfront intended to induce Brown to disrupt and breach his

28   Agreement with Keenan by the aforementioned conduct.
                                                           28
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 1           114.    As a result of Newfront’s intentional acts of interference, Brown breached his Agreement

 2   as alleged above.

 3           115.    Newfront has no justification for its intentional interference with the Agreement.

 4           116.    As a direct and proximate result of the actions of Newfront, Keenan has sustained and/or

 5   will suffer damages.

 6           117.    The conduct of Newfront was willful and malicious and demonstrates a complete

 7   indifference to or a conscious disregard for the rights of Keenan, entitling Keenan to an award of punitive

 8   damages.

 9                                          PRAYER FOR RELIEF

10           WHEREFORE, for the wrongful acts of Defendants complained of in the foregoing counts,

11   Assured respectfully requests the following relief:

12           A.      Judgment in its favor and against Defendants;

13           B.      Permanent injunctive relief prohibiting any further wrongful possession, disclosure,

14   and/or misuse of Keenan’s confidential and trade secret information, and preventing Defendants from

15   profiting or benefiting from their wrongful conduct;

16           C.      An order that Defendants return to Keenan, and purge from their possession, custody and

17   control, any and all documents, computer-based files or data, or information in any form, whether

18   originals, copies, compilations or derivations, which were removed from Keenan or Keenan-owned

19   computer issued to Brown by Keenan, or which were obtained by Defendants or anyone acting on their

20   behalf or in concert with him;

21           D.      An order that Defendants return any and all confidential and/or trade secret information

22   of Assured, and an order prohibiting any further use or benefit from the use of said information;

23           E.      An order that Defendants refrain from further solicitation of any clients of Keenan that

24   Brown has already solicited through use of Keenan Confidential Information or about whom Brown has

25   otherwise misappropriated such information;

26           F.      An order that Newfront withdraw as the broker of record for all Keenan clients that Brown

27   solicited through use of Assured Confidential Information;

28           G.      An award of compensatory damages to Keenan in an amount to be determined at a hearing
                                                           29
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 1   and/or trial including, but not limited to, the attorney’s fees, computer forensic fees and costs Keenan

 2   has incurred to investigate and address Defendants’ unauthorized access and improper use of Keenan’s

 3   computers;

 4           H.      An order directing Defendants to disgorge all gross revenues and profits that they or

 5   anyone acting in concert or participation with them received as a result of their wrongful conduct, in an

 6   amount to be determined at trial;

 7           I.      An award in favor of Keenan for its costs associated with this action, including without

 8   limitation its attorneys’ fees pursuant to the Agreement and under the Defend Trade Secrets Act;

 9           J.      An award of exemplary damages in an amount twice the total of the damages recovered

10   for actual loss as permitted by 18 U.S.C. § 1836(b)(3)(C);

11           K.      An award of punitive damages in an amount to be determined at trial;

12           L.      An award against all Defendants for attorneys’ fees pursuant to 18 U.S.C. §

13   1836(b)(3)(D), and against Brown pursuant to the Agreement;

14           N.      An award of pre-judgment and post-judgment interest as permitted by law;

15           O.      An order imposing a constructive trust;

16           P.      An order that Brown comply with the Agreement; and

17           Q.      Any such other legal and equitable relief as the Court deems appropriate.

18

19   Dated: April 15, 2022                             Respectfully submitted,
20                                                     FISHER & PHILLIPS LLP
21
                                                 By:       /s/ Andrew Saxon
22                                                     USAMA KAHF
                                                       ANDREW E. SAXON
23                                                     Attorneys for Plaintiff
                                                       KEENAN & ASSOCIATES
24

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                                                         30
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 1                                   DEMAND FOR JURY TRIAL

 2           COMES NOW Plaintiff KEENAN & ASSOCIATES and hereby demands a jury trial in the

 3   above matter.

 4

 5   Dated: April 15, 2022                       FISHER & PHILLIPS LLP

 6
                                           By:       /s/ Andrew E. Saxon
 7                                               USAMA KAHF
                                                 ANDREW E. SAXON
 8                                               Attorneys for Plaintiff
                                                 KEENAN & ASSOCIATES
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13                                    EXHIBIT A
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13                                    EXHIBIT B
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                                                    2021
                                                    CALIFORNIA
                                                    EMPLOYEE
                                                    HANDBOOK
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         judgement and analyze how the situation would seem to you if the roles were reversed. You must report
         to your manager or Human Resources any situation, circumstance or position which appears to create a
         conflict of interest with us. Additionally, should you not feel comfortable dealing with someone in local
         management, our confidential Ethics AlertLine, which is operated by a third party, is available. The
         AlertLine may be used to register not only conflict of interests, but any concern you might have about our
         business practices or potential violations of this Handbook, our policies and our procedures. We have
         provided our confidential Ethics AlertLine information below.

         www.assuredpartners.ethicspoint.com
         855-753-0487

         The AlertLine has been created for AssuredPartners and our employees’ protection. We should all be
         accountable for our actions, and this tool provides another means by which we can build that culture of
         accountability. In general, our Human Resources and/or Legal department will follow up on any report,
         and if further information is needed, can request it through the system while you remain anonymous, if
         desired.


         Code of Conduct and Business Ethics
         Scope
         This Code of Business Conduct & Ethics applies to all directors, officers and employees, of AssuredPartners
         (of the “Company”). Such covered individuals are referred to herein collectively as the "Covered Parties."

         Purpose
         The Company expects all Covered Parties to exercise personal integrity in all types of transactions and
         interactions. This Code of Business Conduct & Ethics: emphasizes the Company's commitment to ethics
         and compliance with the law; sets forth basic standards of ethical and legal behavior; provides reporting
         mechanisms for known or suspected ethical or legal violations; and helps prevent and detect wrongdoing.
         This Code of Business Conduct & Ethics can only serve as a guide as the variety of questions that may arise
         in the Company's course of business is unlimited. When faced with ambiguous situations, Covered Parties
         should remember the Company's commitment to high ethical standards and consult with their direct
         management about the situation and, where appropriate, seek advice and counsel from the corporate
         Human Resources and Legal teams to ensure that all actions taken on behalf of the Company honor this
         commitment.

         Corporate Opportunities
         Covered Parties may not take opportunities which are Company property for themselves – i.e., using
         corporate property, information or position for improper personal gain. No Covered Party may use
         Company property, information or position for improper personal gain, and no employee may compete
         with the Company directly or indirectly. Covered Parties owe a duty to the Company to advance its
         legitimate interests whenever possible.

         Fair Dealing
         Covered Parties shall behave honestly and ethically at all times and with all people. They shall act in good
         faith, with due care, and shall engage only in fair and open competition, by treating colleagues,
         competitors and other third parties in an ethical manner. Stealing proprietary information, possessing
         trade secret information that was obtained without the owner's consent, or inducing such disclosures by
         past or present employees of other companies is prohibited. No Covered Party should take unfair



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         advantage of anyone through manipulation, concealment, abuse of privileged information,
         misrepresentation of material facts, or any other unfair practice.

         The purpose of business entertainment and gifts in a commercial setting is to create good will and sound
         working relationships, not to gain unfair advantage with customers. No gift or entertainment should ever
         be offered or accepted by a Covered Party or any family member of a Covered Party unless it (1) is
         consistent with customary business practices; (2) is not excessive in value; (3) cannot be construed as a
         bribe or payoff and (4) does not violate any laws or regulations. The offer or acceptance of cash gifts by
         any Covered Party is prohibited. Covered Parties should discuss with Human Resources, Legal or other
         appropriate personnel any gifts or proposed gifts that they think may be inappropriate.

         Confidentiality
         Covered Parties must maintain the confidentiality of confidential information entrusted to them, except
         when disclosure is required by law. Confidential information also includes information that third parties
         have entrusted to the Company. The obligation to preserve confidential information continues even after
         employment ends.

         Protection and Proper Use of Company Assets
         All Covered Parties should endeavor to protect the Company's assets and ensure their efficient use. Theft,
         carelessness, and waste have a direct impact on the Company's profitability. Any suspected incident of
         fraud or theft should be immediately reported for investigation. The Company's equipment should not be
         used during working hours for non-Company business, though incidental and limited personal use is
         permitted, provided such use is lawful, consistent with AssuredPartners’ policies and procedures, and not
         antithetical to AssuredPartners’ business purposes.

         The obligation of Covered Parties to protect the Company's assets includes its Trade Secrets and
         Confidential Information, as further defined below. Unauthorized use or distribution of Trade Secret and
         Confidential Information violates Company policy. It could also be illegal and result in civil or criminal
         penalties.

         Compliance with Laws, Rules and Regulations
         Obeying the law is the foundation on which the Company's ethical standards are built. In conducting the
         business of the Company, the Covered Parties shall comply with applicable governmental laws, rules and
         regulations at all levels of government in the United States and in any non-U.S. jurisdiction in which the
         Company does business. Although not all Covered Parties are expected to know all of the details of these
         laws, it is important to know enough about the applicable local, state and national laws to determine
         when to seek advice from Human Resources, Legal or other appropriate personnel.

         Timely and Truthful Public Disclosure
         In reports and documents filed with or submitted to regulators of the Company, and in other public
         communications made by the Company, the Covered Parties involved in the preparation of such reports
         and documents shall make disclosures that are full, fair, accurate, timely and understandable. Covered
         Parties shall not knowingly conceal or falsify information, misrepresent material facts or omit material
         facts necessary to avoid misleading the Company's independent public auditors or investors.

         Significant Accounting Deficiencies
         Covered Parties shall be responsible for immediately reporting any information concerning (a) significant
         deficiencies in the design or operation of internal control over financial reporting or (b) any fraud, whether



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         or not material, that involves management or other employees who have a significant role in the
         Company's financial reporting, disclosures or internal control over financial reporting. Such reporting may
         be done through the Ethics AlertLine or, where appropriate, directly to the Audit Committee of the Board
         of Directors of AssuredPartners, Inc.

         Violations of Ethical Standards
         Reporting Known or Suspected Violations
         The Company's directors and, officers shall promptly report any known or suspected violations of this
         Code to the chair of AssuredPartners, Inc.’s Audit Committee. All other Covered Parties should consult
         Human Resources or other appropriate personnel about known or suspected illegal or unethical behavior
         or utilize the Ethics AlertLine where appropriate. These Covered Parties may also report questionable
         behavior in the same manner as they may report complaints regarding accounting, internal accounting
         controls or auditing matters by notifying (anonymously, if desired) the chair of the Audit Committee. No
         retaliatory action of any kind will be permitted against anyone making such a report in good faith, and the
         Company's Audit Committee will strictly enforce this prohibition.

         Accountability for Violations
         If the Company's Audit Committee or its designee determines that this Code has been violated, either
         directly, by failure to report a violation, or by withholding information related to a violation, the offending
         Covered Party may be disciplined for noncompliance with penalties up to and including removal from
         office or dismissal. Such penalties may include written notices to the individual involved that a violation
         has been determined, censure by the Audit Committee, demotion or re-assignment of the individual
         involved and suspension with or without pay or benefits. Violations of this Code may also constitute
         violations of law and may result in criminal penalties and civil liabilities for the offending Covered Party
         and the Company. All Covered Parties are expected to cooperate in internal investigations of alleged
         misconduct.


         Trade Secrets and Confidential Information
         AssuredPartners’ trade secrets, confidential and proprietary information (“Trade Secret and Confidential
         Information”) is vital to our entire business. During your employment with AssuredPartners, you will be
         provided with, have access to, and be required to maintain strict confidentiality of, Trade Secret and
         Confidential Information. This Trade Secret and Confidential Information is not known by
         AssuredPartners’ competitors or within the insurance brokerage business generally.

         AssuredPartners’ Trade Secret and Confidential Information includes all confidential, proprietary, and/or
         non-public information, whether or not in a written or recorded, electronic or non-electronic, form,
         concerning the business or affairs of AssuredPartners. Although it would be impossible for
         AssuredPartners to list each and every document or category of Trade Secret and Confidential Information
         to which you will be provided access in your employment with AssuredPartners, below are recognized
         categories and examples of each such category:

         Client and Prospective Client Information
                     • Identity, authority, responsibilities or other customized information concerning key client
                         or prospect contacts;
                     • Insurance preferences and needs;
                     • Policy types (current and historical);
                     • Premium amounts;




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                    •   Policy expiration dates;
                    •   Client lists, prospect lists, and “book of business” reports;
                    •   Information regarding risk characteristics;
                    •   Information regarding special insurance markets;
                    •   Contracts or arrangements (including special terms and deals);
                    •   Composition and organization of a client’s or prospective client’s business and identity
                        and preferences of the key decision-making personnel within same;
                    •   Details concerning the structure, conditions, and extent of existing products and services;
                    •   Commission rates;
                    •   Service arrangements; and
                    •   Other data regarding the particularized requirements and preferences of clients or
                        prospective clients, including third-party confidential information.

                AssuredPartners’ Financial & Business Information
                   • Accounting records;
                   • Financial forecasts;
                   • Pricing information;
                   • Wages and income information;
                   • Bank records;
                   • Tax records;
                   • Acquisition target lists and related due diligence materials concerning those targets;
                   • Insurance broker relationships and non-public details regarding same;
                   • Wholesale relationships and non-public details regarding same;
                   • Vendor relationships and non-public details regarding same;
                   • Insurance carrier relationships and non-public details regarding same;
                   • Marketing and servicing plans;
                   • Underwriting information and services;
                   • Procedures and techniques;
                   • Business plans;
                   • Sales strategies including, but not limited to, training and resources related to the
                       AssuredPartners’ Blueprint sales method;
                   • Employee benefits-related proprietary plans and programs including, but not limited to,
                       AssuredExcellence and CompleteCare;
                   • Operations;
                   • Policy forms;
                   • Proprietary software, web applications, and analysis tools;
                   • Business strategies and methods; and
                   • Service and products offered by AssuredPartners to clients or prospective clients;
                   • Any other financial or business information pertaining to AssuredPartners that is not
                       generally known by third parties.

         This Trade Secret and Confidential Information constitutes a valuable asset of AssuredPartners.
         AssuredPartners has spent considerable time and resources developing and maintaining its Trade Secret
         and Confidential Information. This information provides AssuredPartners with a competitive advantage.
         Should this information become public or be obtained by one of AssuredPartners’ competitors, it would




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         be detrimental to AssuredPartners’ work and profitability. As such, the value of this information cannot
         be readily determined or calculated.

         AssuredPartners takes the confidentiality of its Trade Secret and Confidential Information very seriously.
         All AssuredPartners employees are prohibited from using any such Trade Secret or Confidential
         Information for his/her personal benefit or for the benefit of any person or entity other than
         AssuredPartners. Employees may not remove, copy, replicate, disseminate, forward (e.g., forward
         AssuredPartners’ emails to an employee’s private email account) Trade Secret or Confidential
         Information, or partner, coordinate or cooperate with third parties to do the same. Further,
         AssuredPartners restricts access to such Trade Secret and Confidential Information only to those who
         have a need to know it for AssuredPartners’ business purposes.

         Signature __________________________________


         Outside Employment
         You are hired with the understanding that the Company is your primary employer, and that any other
         employment or involvement, whatsoever, that is considered by management to be in conflict with the
         interest of, or reflect on the reputation or public image of, Company is prohibited. This includes the
         prohibition against business ventures, personal investments, and outside employment that interfere or
         conflict with, or create the appearance of any conflict with, the employee’s obligations and
         responsibilities to the Company or the conscientious performance of the employee’s duties to the
         Company. Such activities must not involve the use of the Company’s name, information or good will for
         personal gain or for the gain of others.

         Conflicts of interest could arise in the following circumstances:
            • Being employed by, or acting as a consultant to, a competitor or potential competitor, supplier or
                 contractor, regardless of the nature of the employment, while employed with the Company. An
                 employee must disclose to the Company if he or she has obtained any outside employment or
                 paid relationship that could raise any conflict of interest concerns.
            • Hiring or supervising family members or closely related persons.
            • Serving as a board member for an outside commercial company or organization.
            • Owning or having a substantial interest in a competitor, supplier or contractor.
            • Accepting gifts, discounts, favors or services from a customer/potential customer,
                 competitor or supplier, unless equally available to all company employees.

         An employee who believes that he or she is potentially involved in a situation which could create a
         conflict of interest should immediately and fully disclose the relevant circumstances to his or her
         Supervisor or Human Resources for determination as to whether a conflict exists. If an actual or potential
         conflict is determined, the Company may take whatever corrective action appears appropriate under
         the circumstances. Failure to disclose all relevant facts may constitute grounds for disciplinary action,
         up to and including termination.




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         Receipt of AssuredPartners Employee Handbook

         I hereby acknowledge receipt of the Employee Handbook of AssuredPartners. I understand and agree that
         it is my responsibility to read and comply with the policies in the Handbook.

         Violations of these policies and conditions, among others not specified in our handbook, can lead to
         disciplinary action, up to and including immediate termination.

         AssuredPartners reserves the right, consistent with applicable law to change, withdraw, apply, or amend
         any of our policies or benefits, including those covered in our Handbook at any time, with or without
         notice and without a written revision of this version of our Handbook. Notification of such changes can be
         in any common method, such as via email, posting on an intranet, a printed memo, notice, amendment
         to or reprinting of the Handbook.

         We typically collect your "signature" electronically at your time of hire and annually thereafter. By
         "signing," you acknowledge that you have reviewed AssuredPartners’ handbook, that you understand the
         handbook, that it is your responsibility to read and comply with the policies, as they exist now or as may
         be amended, and that you are not aware of any violations of our handbook which you have not reported
         appropriately.


         Signature: ____________________________________________

         Date: ________________________________________________




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